Case 1:05-cv-01812-RBW Document 73-2 Filed 06/01/10 Page 1of3

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS,
Plaintiff,

HARLEY G. LAPPIN, DIRECTOR,
FEDERAL BUREAU OF PRISONS,

)
)
}
Vv. ) Civil Action No.: 05-1812 (RBW)
)
)
)
Defendant. )

SUPPLEMENTAL DECLARATION OF WILSON J. MOORER

|, Wilson J. Moorer, do hereby declare and state the following:
1. lam currently a Paralegal Specialist at the Federal Bureau of Prisons (BOP), Office
of General Counsel, Freedom of Information Act (FOIA) Section, Washington, D.C. |
have been employed with the BOP since July, 1988, and in this position since April,
2003. My duties include assisting the Chief, Freedom of Information Act/Privacy Act
Section and Freedom of Information Administrator in the review and release of
information requested from the BOP pursuant to the FOIA. Based on my position and
experience, | am familiar with the procedures utilized by BOP in responding to FOIA

requests, and | am knowledgeable of FOIA guidelines.

2. This declaration supplements my May 14, 2008, declaration attached to Defendant’s

Response To Court’s February 25, 2010 Order.

3. | coordinated the search for records responsive to FOIA Request Number 2003-
Case 1:05-cv-01812-RBW Document 73-2 Filed 06/01/10 Page 2 of 3

08557, which was filed by Prison Legal News (PLN) and received by the BOP’s FOIA
Section on August 15, 2003, by contacting each office of the BOP that would maintain
records responsive to the Plaintiff's FOIA request for records. These offices included all
branches of the Office of General Counsel which consists of Commercial Law,
Discrimination Complaints and Ethics Branch (which encompasses Equal Employment
Opportunity), Labor Law, Legal Administrative Branch, Legislative and Correctional
Issues Branch, Litigation Branch, and Real Estate and Environmental Branch, six (6)
BOP Regional Offices, the Administrative Division of the BOP (which consists of
Contracts) and the Labor Management Relations Branch. A total of 11,461 pages of

responsive documents were forwarded to me.

4. Allthe 11,461 pages were reviewed by supervisors, and 79 pages were identified as
needing modifications. In order to avoid confusion, instead of removing these individual
pages from their original files and making the changes, the entire document associated
with these pages was sent to me for further review and processing. As a result of this
review and subsequent release, 422 pages were provided to the plaintiff. This number
includes pages previously released in full and ones that had redactions that needed no

modifications.

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Case 1:05-cv-01812-RBW Document 73-2 Filed 06/01/10 Page 3 of 3

| declare under the penalty of perjury, pursuant to Title 28 U.S.C. § 1746, the
foregoing is true and correct to the best of my information, knowledge and belief.

Executed this LG day of May 2010, at Washington, D.C.

Wilson J. Moéer f

Paralegal Specialist
Federal Bureau of Prisons

Washington, D.C.

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